848 F.2d 184Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard Thomas DUNMORE, Plaintiff-Appellant,v.Michael RAMSEY, In official capacity as Public Defender,Defendant-Appellee.
    No. 88-6007.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 22, 1988.Decided:  May 20, 1988.
    
      Leonard Thomas Dunmore, appellant pro se.
      Before WIDENER, JAMES DICKSON PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Dunmore v. Ramsey, C/A No. 88-319-HAR (D.Md. Feb. 12, 1988).
    
    
      2
      AFFIRMED.
    
    